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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

 In re:                                                )        Chapter 11
                                                       )
 USA GYMNASTICS,                                       )        Case No. 18-09108-RLM-11
                                                       )
                             Debtor.                   )
 ______________                                        )


                 AMENDED LIMITED OBJECTION TO DEBTOR'S MOTION FOR
                  ENTRY OF ORDER APPROVING AGREEMENT WITH ALFERS
                                                                   1
                 GC CONSULTING, LLC TO PROVIDE CONSULTING SERVICES

            Curtis T. Hill, Jr., Attorney General of Indiana, objects to the Debtor's Motion for Entry

 of Order Approving Agreement with Alfers GC Consulting, LLC to Provide Consulting Services

 (the "Motion") on a limited basis and states in support of his limited objection:

                                                INTRODUCTION

            1.       Curtis T. Hill, Jr., the Attorney General of the State of Indiana, (the "Attorney

 General") is charged with protecting the public interest in charitable and benevolent

 instrumentalities and to ensure the integrity of nonprofit entities operating within the State of

 Indiana. Ind. Code§§ 23-17-24-1 and 23-17-24-1.5. Zoeller v. East Chicago Second Century,

 904 N.E.2d 213 (Ind. 2009).

            2.       USA Gymnastics ("USAG") is a nonprofit corporation with a principal office

 located in Indianapolis, Indiana.

            3.       USAG filed a voluntary petition for relief under Chapter 11 of the United States

 Bankruptcy Code, 11 U.S.C. §§ 101 et. seq. (the "Code") on December 5, 2018 (the "Petition

 Date"). USAG continues to operate its business as a debtor-in-possession pursuant to Sections

  1107 and 1108 of the Code.

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     This document is shown as "amended" to reflect the Exhibit which was inadvertently omitted.
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                                         BACKGROUND

        4.      Over the past several years, a culture of rampant abuse within the sport of

 gymnastics has been exposed, and USAG has become the subject of one of the most horrific and

 extensive scandals in sports history.

        5.      On November 4, 2016, USAG engaged Deborah Daniels, a partner at

 Indianapolis-based Krieg De Vault LLP and former federal prosecutor, to conduct an independent

 review of USAG's bylaws, policies, procedures, and practices related to handling sexual

 misconduct matters.

        6.      The review was sought in the wake of the exposure of nearly three decades of

 sexual abuse which had been perpetrated by Dr. Larry Nassar, USAG's National Medical

 Coordinator and Women's National Team Physician, and a terrifying number of reports that had

 begun to surface of young women being abused by persons affiliated with USAG as members or

 contractors along with additional charges that USAG had not been sufficiently responsive in

 disciplining offenders and terminating their access to young gymnasts.

        7.      Another event which contributed to the commission of the Daniels review was a

 series of articles published by The Indianapolis Star beginning in the summer of 2016 with a

 primary focus on sexual abuse in women's gymnastics and the myriad cases of alleged abuse.

        8.      One of the stories from the series which was particularly disturbing was published

 during December 2016 and reported that nearly 400 gymnasts had alleged sexual abuse or

 exploitation by coaches and other authority figures over a period of 20 years. Additionally, at

 least some of these coaches and authority figures were alleged to have been associated with

 USAG as members.        Despite this, many of the allegations against members had not been

 pursued, or had not been promptly reported, by USAG.




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        9.       Daniels produced her Report to USA Gymnastics on Proposed Policy and

 Procedural Changes for the Protection of Young Athletes on or about June 26, 2017 (the

 "Daniels Report"). A copy of the Daniels report is available on USA G's website at:

 https://usagym.org/PDFs/About%20USA %20Gymnastics/ddreport 062617 .pdf              (last    visited

 December 18, 2018).

         10.    The Daniels Report contained approximately 70 recommendations for improving

 the culture at USAG and promoting the safety of the athletes who compete within the sport of

 gymnastics.

         11.    In the nearly eighteen months since the publication of the Daniels Report, USAG

 has failed to fully implement the recommendations. By USAG's admission on its website, less

 than 50% of the recommendations have been implemented with others listed as "in progress,"

 "ongoing," or "planning." See:

 http://www.usagymprogressreport.com/recommendations (last visited December 19, 2018).

         12.    Those recommendations showing as "in progress" (39%), "ongoing" (8%) or

 "planning" (6%) are of grave concern as many of those particular recommendations, including

 but not limited to all recommendations as to education, training, and athlete support, are arguably

 the most important to effectuate athlete safety. Yet, they have fallen by the wayside.

         13.     The description of certain recommendations as "implemented" is confounding in

 some cases.    For example, the Daniels Report recommended the creation of the position of

 Regional Safe Sport Director. USAG has created the position; however, upon information and

 belief, the position is currently vacant.

         14.     Likewise, the Daniels Report recommended the hiring of an in-house General

 Counsel, who as stated by USAG was to oversee the organization's legal affairs, including




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 oversight of safe sport and related issues but also to manage and oversee the annual enterprises

 risk assessment recommendation. Upon information and belief, the position has been created but

 remains vacant.

          15.   The Daniels Report noted that then current USAG standards directed a party who

 suspected child abuse to consult with counsel because legal reporting requirements varied by

 state. (Daniels Report, p. 74) Notwithstanding this reality, the Daniels Report stated "It is best

 for all members to understand that because of their position of trust and authority with athletes,

 they should immediately report all suspicions or incidents of abuse regardless of whether they

 are required under their state's laws to report." Jd.(emphasis added).

          16.   Despite this guidance from a former prosecutor, USAG's current policy states that

 "USA Gymnastics will report suspected child abuse or neglect (including Sexual Misconduct)

 within 24 hours to the proper authorities in all instances and without exception, unless it is aware

 that authorities have already been notified." See USA Gymnastics Progress Report attached as

 Exhibit A (emphasis added).

          17.   Daniels was correct in stating that reporting requirements vary by state. In fact,

 Indiana requires immediate reporting of suspected child abuse. See Ind. Code 31-33-5-2. The

 Indiana Supreme Court has determined that a delay of four hours in reporting suspected abuse

 was not "immediate" within the meaning of Indiana law. Smith v. State, 8 N.E.3d 668 (Ind.

 2014).

          18.   Therefore, the current USAG policy falls short of the requirements imposed by

 Indiana law and the proactive approach endorsed by Daniels, as well as what is necessary to

 protect athletes and children across the nation from abuse.




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        19.     Additionally, as   reported   in the Independent Audit Report on USAG's

 Consolidated Financial Statements for December 31, 2017 and 2016, as of August, 2018,

 approximately 222 individuals in Michigan, California, and Texas have named USAG as a

 defendant in lawsuits, and additional inquiries have been initiated by Ropes & Gray, three

 Congressional committees, the Texas Rangers, and this Attorney General.

                                   ALFERS' EMPLOYMENT

        20.     Prior to the Petition Date, USAG entered into a contract with Alfers GC

 Consulting, LLC ("Alfers") in which Alfers agreed to provide "general business consulting

 services" to assist USAG's Board of Directors with "certain strategic planning and operational

 execution support." [Doc. 20, Exhibit B, Appendix A.]

        21.     It is the Attorney General's understanding that USAG retained Alfers, in part,

 because certain positions within USAG are open, and USAG is in need of operational assistance.

        22.     The Attorney General understands USAG's need for assistance; however, the

 Motion is somewhat vague about the nature of the services to be provided. While the Attorney

 General does not wish to substitute his business judgment for that of USAG, the Attorney

 General asks that any order employing Alfers be conditioned upon Alfers' agreement to operate

 in a manner that promotes and secures the welfare of the athletes who are part of USAG.

        23.     At a minimum, Alfers must be prepared to comply with Indiana law as well as the

 laws of other jurisdictions as they relate to the reporting of child abuse. Alfers and its employees

 must immediately report suspected child abuse as recommended by Daniels, outlined by

 USAG's own policies, and required by Indiana law.




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         24.      Additionally, Alfers must be prepared to engage in a systematic evaluation of

 remaining USAG employees to insure their compliance with USAG policies implementing the

 Daniels' recommendations.

         25.      Alfers must also be willing to cooperate fully in any and all investigations or

 inquiries by regulatory bodies and/or law enforcement entities as it relates to USAG.

         26.      Further, Alfers must be prepared to work toward full implementation of the

 Daniels recommendations in a timely manner, in addition to making athlete safety a top priority

 and making all necessary efforts to effectuate       that goal.

         27.      If Alfers is willing to commit to these suggested requirements then the Attorney

 General has no objection to Alfers' employment by USAG.

         28.      Each and every part of USAG, whether a permanent employee or an outside

 consultant must be committed to safety. There can be no further delays in the protection of the

 young athletes within the USAG system as well as children across the nation. Making athlete

 safety a top priority as well as compliance with the Daniels Report is simply too important to be

 delayed any further.

         29.      The Attorney General also notes that there is a pending objection to Alfers'

 employment from a group of sexual abuse survivors (the "Survivors' Group").                             In their

 objection, the Survivors' Group requests that Alfers provide a disclosure of any potential

 conflicts and file a declaration attesting to its disinterestedness as the term is used in Section 327

 of the Code. The Attorney General joins in this request.




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   The Attorney General recognizes that Alfers' employment is currently projected to end on January 31, 2019;
 however, this still provides time for implementation and enforcement of the Daniels recommendations. In addition,
 the contract provides for the possible extension of Alfers' services.


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                                        CONCLUSION

        WHEREFORE, Attorney General Curtis T. Hill, Jr. respectfully requests that the Court

 condition the employment of Alfers upon Alfers' agreement to comply with all laws and rules

 regarding the reporting of suspected child abuse, monitor and promote compliance with the

 policies designed to protect and promote athlete welfare, and work toward full implementation of

 the recommendations contained in the Daniels Report and further condition the employment on

 making the disclosures requested by the Survivors Group.

 Dated: December 19, 2018                    Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 19° day of December, 2018, I electronically filed the
 foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
 of such filing to all parties who have filed an appearance. Copies of this pleading may be
 accessed through the Court's electronic filing system.


                                                     Isl Martha R. Lehman
                                                     Martha R. Lehman




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